    The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

    1. Kathy Pritchard
       v. Jill Ruderman
       Record No. 0024-22-2
       Opinion rendered by Chief Judge Decker
         on December 20, 2022
       Refused (230045)

    2. Aleksey Gennadiyev Yemel’Yanov
       v. Commonwealth of Virginia
       Record No. 0450-22-2
       Opinion rendered by Judge Beales
         on January 10, 2023
        Refused (230103)

    3. Daniel Rock
       v. Commonwealth of Virginia
       Record No. 0343-22-3
       Opinion rendered by Judge Huff
        on January 24, 2023
       Refused (230142)
